Case 19-11414-amc       Doc 90      Filed 07/06/22 Entered 07/06/22 18:07:15           Desc Main
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                                  United States Bankruptcy Court
                                  Eastern District of Pennsylvania

     In re   Christine Bennett,               :      Chapter 13

              Debtor                          :      No. 19-11414amc

                                              :      HEARING DATE 8/3/2022
                                              :      11:00 am in
                                                     COURTROOM #4

     NOTICE OF MOTION TO VACATE ORDER GRANTING RELIEF FROM STAY

 Debtor has filed papers with the court to ask for an order vacating Order granting relief from stay.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

        If you do not want the court to grant the Motion to Vacate Order dated May 25, 2022 and
reinstate the automatic stay or if you want the court to consider your views on the Motion, then on
or before July 20, 2022, you or your attorney must:


       1. File with the court an answer or objection explaining your position at Office of the
       Clerk, United States Bankruptcy Court for the Eastern District of Pennsylvania, Robert
       Nix, Sr. Courthouse, 900 Market Street, Ste. 400, Philadelphia, PA 19107.

       If you mail your response to the court for filing, you must mail it early enough so the
       court will receive it on or before the date stated above.

       You must also mail a copy to: .
       Sharon S. Masters, Esq.
       132 Overleaf Drive
       Thorndale, PA 19372

       2. Attend the hearing scheduled to be held on August 3, 2022 at 11:00am in
       Courtroom No. 4.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that
relief.

/s/ Sharon S. Masters, Esq.
Sharon S. Masters, Esq.
132 Overleaf Drive
Thorndale, PA 19372
Attorney for Debtor
